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To:
The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Centre Street
New York, NY 10007

From:
Russell DiBona
29 Dick Street
Bergenfield, NJ 07621


Dear Judge Engelmayer,

Thank you for your time taken to consider this letter. My name is Russell
DiBona and have known Ari Teman from his middle school years through
current years. I was his private music educator through his middle and high
school years and will attest to his excellent study habits and responsibility.
He was a pleasure to teach and it has been a pleasure to follow him into
adulthood to see his excellent successes.

I predicted his succes in three areas 1) music, 2) comedy, and 3) computers
or computer related business. TWO of these came true. His music career I
believe, sadly, got sidelined.

I have come to know the adult Ari Teman as a beautiful, funny, kind, and
thoughtful human being.

Sincerely,



Russell DiBona
Musician/Educator
Drums and Percussion
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B.A. Berklee College of Music
29 Dick Street
Bergenfield, NJ 07621
